442 F.2d 927
    Lewis K. CATO and Lewis K. Cato, Administrator of the Estate of Johnnie P. Cato, deceased, Plaintiffs-Appellants,v.UNITED STATES of America, Defendant-Appellee.Francis J. DWYER and Wife, Elizabeth C. Dwyer, Plaintiffs-Appellants,v.UNITED STATES of America, Defendant-Appellee.
    No. 31050.
    United States Court of Appeals, Fifth Circuit.
    April 30, 1971.
    
      David E. Hicks, Birmingham, Ala., for plaintiffs-appellants.
      Wayman G. Sherrer, U. S. Atty., Birmingham, Ala., Johnnie M. Walters, Asst. Atty. Gen., Meyer Rothwacks, Chief, Appellate Sec., Stephan Schwarz, Gilbert E. Andrews, Atty., Tax Div., Dept. of Justice, Washington, D. C., for defendant-appellee.
      Before TUTTLE, WISDOM and INGRAHAM, Circuit Judges.
      PER CURIAM:
    
    
      1
      We conclude that it would require an extreme distortion in both legislative policy and the language effecting it to hold that the trial court erred in holding in favor of the United States in this federal income tax case by directing a verdict for the government.
    
    
      2
      We agree with the trial court that the gain portion of sums withdrawn by the taxpayers from pledged savings accounts assigned to them do not qualify for long-term capital gains treatment for tax purposes (see Redak v. Commissioner, 27 TCM 1053 [1968]).
    
    
      3
      The judgment is affirmed.
    
    